 Case 2:07-cr-00145-KJD-BNW              Document 1443        Filed 06/10/14      Page 1 of 1



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 4                               UNITED STATES DISTRICT COURT

 5                                       DISTRICT OF NEVADA

 6                                                   ***

 7   UNITED STATES OF AMERICA,                              Case No. 2:07-CR-145-KJD-PAL
 8                          Plaintiff,
                                                                               ORDER
 9          v.
10   CHARLES EDWARD GENSEMER, et al.,
11                          Defendant.
12

13          Before the Court is Defendant Charles Gensemer’s letter received June 5, 2014 (#1442).
14   Defendant petitions this Court to allow Defendant to withdraw his appellate brief, appoint new
15   counsel, and permit an extension of time to file a revised brief. It is entirely unclear that such
16   relief is in any way warranted. More importantly, Defendant’s case is on appeal before the Ninth
17   Circuit Court of Appeals. Defendant must petition that Court for relief, as this Court lacks
18   authority to grant the relief requested.
19

20          DATED this 10th day of June 2014.
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23                                                          _____________________________
                                                            Kent J. Dawson
24                                                          United States District Judge
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